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                 IN THE UNITED STATES DISTRICT COURT
                FOR THE NORTHERN DISTRICT OF GEORGIA
                          ATLANTA DIVISION



GEORGIA STATE CONFERENCE OF THE               )
NAACP, as an organization; GEORGIA            )
COALITION FOR THE PEOPLE’S                    )
AGENDA, INC., as an organization; LEAGUE      )
OF WOMEN VOTERS OF GEORGIA, INC.,             )
as an organization; GALEO LATINO              )      Civil Action
COMMUNITY DEVELOPMENT FUND,                   )      Case No. _____________
INC., as an organization; COMMON CAUSE;       )
as an organization; LOWER MUSKOGEE            )      COMPLAINT FOR
CREEK TRIBE,                                  )      INJUNCTIVE AND
                                              )      DECLARATORY RELIEF
Plaintiffs,                                   )
                                              )      52 U.S.C. § 10301, 42 U.S.C.
v.                                            )      § 1983; First, Fourteenth
                                              )      and Fifteenth Amendments
BRAD RAFFENSPERGER, in his official           )      to the United States
capacity of the Secretary of State for the    )      Constitution)
State of Georgia, REBECCA N.                  )
SULLIVAN, DAVID J. WORLEY,                    )
MATTHEW MASHBURN, and ANH LE, in              )
their official capacities as members of the   )
State Election Board,                         )
                                              )
Defendant.                                    )
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                         PRELIMINARY STATEMENT

       1.    This is a voting rights lawsuit filed pursuant to Section 2 of the Voting

Rights Act of 1965 (52 U.S.C. § 10301) and 42 U.S.C. § 19831 seeking prospective

declaratory and injunctive relief against Brad Raffensperger, in his official capacity

as the Georgia Secretary of State; Rebecca N. Sullivan, David J. Worley, Matthew

Mashburn, and Anh Le in their official capacities as members of the State Election

Board, to enjoin the enforcement and implementation of Georgia Senate Bill 202

(“SB 202”), an omnibus voter suppression bill passed by the Georgia General

Assembly on March 25, 2021 and signed into law the same day by Georgia

Governor, Brian Kemp. 2

       2.    SB 202 is the culmination of a concerted effort to suppress the

participation of Black voters and other voters of color by the Republican State

Senate, State House, and Governor. In the last two decades, Georgia has

undergone demographic change, namely the increasingly large percentage of the



1
  Plaintiffs anticipate supplementing this Complaint with claims arising under
Section 8 of the National Voter Registration Act of 1993 (52 U.S.C. § 20507,
20510)(“NVRA”) after notice of NVRA violations are served on the appropriate
parties and the pre-litigation notice period expires.
2
  A copy of SB 202 as passed by the Georgia General Assembly on March 25, 2021
(“SB 202/AP”) is available on the Georgia General Assembly’s website at this
link: https://www.legis.ga.gov/api/legislation/document/20212022/201498 (last
checked 3/27/21).

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electorate comprised of Black voters and other voters of color. Additionally, as

demonstrated by election analyses, Black voters and voters of color usually

provide strong support to Democratic candidates. The demographic changes and

the voting patterns of voters of color have resulted in evolving political change in

Georgia. After several cycles of Republican dominance, Democratic statewide

candidates almost won election in 2018 and then won the races for President in

2020 and two Senatorial races in 2021. Unable to stem the tide of these

demographic changes or change the voting patterns of voters of color, these

officials have resorted to attempting to suppress the vote of Black voters and other

voters of color in order to maintain the tenuous hold that the Republican Party has

in Georgia. In other words, these officials are using racial discrimination as a

means of achieving a partisan end. These efforts constitute intentional

discrimination in violation of the Constitution and Section 2 of the Voting Rights

Act.

       3.    SB 202’s sweeping changes are aimed at suppressing the vote of

Black voters and other voters of color. The law targets early in-person voting,

voting by absentee ballots, and the use of absentee ballot drop boxes - means of

voting that have been increasingly used by Black, Latinx, Asian American,

members of indigenous populations and other voters of color. In the most recent


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elections in 2020 and 2021, voters of color used these methods of voting in

numbers not seen before. In response, the Georgia General Assembly enacted SB

202 to limit access to these voting methods and burden their use.

       4.    Despite the fact that many of the provisions of SB 202 will add to the

problems of long lines and delays at polling locations by making absentee mail

voting and in-person early voting harder, SB 202 even penalizes voters forced to

wait in long lines to vote for protracted periods by criminalizing the simple act of

individuals and charitable organizations providing voters with water when they are

waiting in line to vote. More often than not, it is Black voters or other voters of

color who are negatively impacted by long lines and delays at the polls and stand

to suffer most when charitable organizations can no longer provide such items to

voters waiting to vote.

       5.    SB 202 also threatens the power of county election boards,

responsible for ensuring that voters of color are able to participate equally in the

political process, by stripping the Secretary of State of his vote on the State

Election Board, replacing the Secretary of State with a voting member appointed

by the General Assembly and granting the State Election Board the power to

effectively take over the County Board. SB 202, Section 5.




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       6.     The provisions of SB 202, viewed individually or collectively,

threaten the fundamental right to vote of all Georgians, but their impact will be felt

most intensely by persons of color, which is precisely what the legislature

intended.

       7.     This Court should declare SB 202 unlawful and unconstitutional, and

permanently enjoin its implementation.

                             JURISDICTION AND VENUE

       8.     The Court has jurisdiction of this action pursuant to 28 U.S.C. §

1343(a) because it seeks to redress the deprivation, under color of state law, of rights,

privileges and immunities secured by the Voting Rights Act, and 28 U.S.C. § 1331

because it arises under the laws of the United States.

       9.     This Court has jurisdiction to grant both declaratory and injunctive

relief pursuant to 28 U.S.C. §§ 2201 and 2202.

       10.    Venue is proper in this district pursuant to 28 U.S.C. § 1391(b)(2)

because a substantial part of the events or omissions giving rise to the claims

occurred in this District.

                                        PARTIES

       11.    Plaintiff GEORGIA STATE CONFERENCE OF THE NAACP

(“Georgia NAACP”) is a non-partisan, interracial, nonprofit membership



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organization that was founded in 1941. Its mission is to eliminate racial

discrimination through democratic processes and ensure the equal political,

educational, social, and economic rights of all persons, in particular African

Americans. It is headquartered in Atlanta and currently has approximately 10,000

members.

       12.   The Georgia NAACP works to protect voting rights through litigation,

advocacy, legislation, communication, and outreach, including work to promote

voter registration, voter education, GOTV efforts, election protection, and census

participation.

       13.   The Georgia NAACP has branches in counties across the state of

Georgia that are involved in voter registration, voter assistance, voter education,

election protection, grassroots mobilization, and get-out-the-vote efforts, including

Sunday early voting events, such as “Souls to the Polls.”

       14.   The Georgia NAACP has sought to prevent efforts to suppress or

disenfranchise African American voters and has been involved in voting rights

litigation in Georgia to vindicate their rights.

       15.   The Georgia NAACP engages in voter outreach efforts, including

voter education on voting in-person during early voting, voting by mail and voting

in person on election day.


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       16.   The Georgia NAACP has engaged in GOTV campaigns. One of the

key components of these campaigns is providing accurate information regarding

mail-in ballots to the Georgia NAACP’s membership and the rest of the public.

       17.   The Georgia NAACP has developed materials and worked with local

NAACP branches to educate its members and the public about voting by mail,

including providing information concerning the availability and location of mail

ballot drop boxes during the 2020 general election and 2021 runoff election cycle.

The Georgia NAACP also developed messaging and materials regarding mail

ballot drop box locations in particular counties.

       18.   The Georgia NAACP has conducted text and phone banking programs

and reached out to voters throughout Georgia to encourage voter participation and

to educate the public about the voting process, including about voting by mail.

       19.   Many of the Georgia NAACP’s members have voted by mail in the

past and stand to be negatively impacted by the substantial changes to Georgia’s

vote by mail procedures that have been enacted as part of SB 202. Many more will

be impacted by the changes to the availability of absentee ballot drop boxes,

changes to early voting times and days and the requirement of a sworn affidavit for

voters who go to the wrong precinct to vote prior to 5 p.m., as set forth in SB 202.




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Many Georgia NAACP members are at risk of being disenfranchised by the

changes in SB 202.

       20.   The Georgia NAACP has an interest in preventing the

disenfranchisement of eligible voters, including its members and voters it may

have assisted with navigating the voting process.

       21.   Due to the substantial changes in absentee voting procedures, absentee

ballot drop boxes, early voting periods, restrictions on out of precinct voting,

criminalization of line-warming activities (supplying water and snacks to voters in

line and other persons who request the refreshments) and the other changes caused

by the enactment of SB 202, the Georgia NAACP will not only have to change its

messaging to voters of color about these changes, but the NAACP will also have to

divert considerable resources from its ongoing election protection, advocacy, and

get out the vote efforts to educate and assist eligible voters.

       22.   The Georgia NAACP will also have to divert its resources to educate

voters about the substantial changes to the mail voting process, and will have to

respond to questions from voters who used a mail ballot drop box in the November

2020 election and will be confused by the fact that they are not available outside

early voting locations in the future.




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       23.   The Georgia NAACP has traditionally provided transportation to the

polls for voters on Election Day. The Georgia NAACP will have to divert

resources to physically transport voters to the county board of elections to drop off

their mail ballots or to polling places or early voting locations to vote in person if

they cannot vote by absentee. The nature and scope of the Georgia NAACP’s

voter assistance efforts will need to change if voters do not have access to a drop

box or mail ballots are rejected due to the burdensome ID requirements, the

complicated changes for completing absentee ballot applications and returning

absentee ballots.

       24.   The Georgia NAACP’s additional efforts to educate voters whose

mail ballots are rejected due to the new ID requirements and other procedures will

force the Georgia NAACP to have to divert substantial resources away from core

activities such as voter registration and other efforts such as criminal justice work.

This is due to the fact that the Georgia NAACP’s resources are limited.

       25.   Plaintiff THE GEORGIA COALITION FOR THE PEOPLE’S

AGENDA, INC. (“GCPA”) is a Georgia nonprofit corporation with its principal

place of business located in Atlanta, Georgia. The GCPA is a coalition of more than

30 organizations, which collectively have more than 5,000 individual members.




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       26.   In addition to its main office in Atlanta, the GCPA has field offices in

Athens, Albany, Augusta, Macon, Savannah, and LaGrange, Georgia where it is

able to provide outreach and support to voters and prospective voters of color and

underserved communities outside of the Metro Atlanta area.

       27.   During the 2020 elections and the January 5, 2021 runoff cycle, the

GCPA’s voter outreach efforts were conducted in the greater Metro Atlanta region

as well as throughout other areas of Georgia from the aforementioned field offices

and covered approximately 88 counties in the state.

       28.   The GCPA encourages voter registration and participation, particularly

among Black and other underrepresented communities of color in Georgia. The

GCPA’s support of voting rights is central to its mission. The organization has

committed, and continues to commit, time and resources to protecting voting rights

through advocacy, legislation, communication, and outreach, including work to

promote voter registration, voter education, GOTV efforts, election protection,

census participation and litigation.

       29.   The GCPA conducts voter registration drives, voter ID assistance,

“Souls to the Polls” GOTV events during Sunday early voting and other get out the

vote (“GOTV”) efforts in Georgia that seek to encourage voter participation among

Black and Brown voters and voters in historically underserved communities of


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color. The GCPA in coalition with other civic engagement organizations in

Georgia also participates in voter education and voter empowerment programs.

       30.   GCPA’s voter education and empowerment programs have included,

but were not limited to, educating prospective voters about how to register to vote

and to confirm their registration status; educating voters about the options to vote

in-person during advanced voting, in-person on Election Day and by mail via

absentee ballot; providing information to voters about accessing absentee ballot

drop boxes to cast their absentee ballots safely and securely, and helping voters to

understand the new voting system implemented for the first-time during the 2020

election cycle statewide.

       31.   The GCPA has also distributed civic education materials to voters and

prospective voters; arranged for rides to the polls for voters; and supported the

Georgia Election Protection field program in order to provide assistance to voters

on the ground near polling sites.

       32.   GCPA also participates in media interviews, sponsors Public Service

Announcements (PSAs), places billboard ads, conducts phone banking, and

engages in text message campaigns to educate voters and to encourage

participation.




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       33.   The GCPA has an interest in preventing the disenfranchisement of

eligible voters who now run the risk of becoming disenfranchised as a result of the

new restrictions imposed by SB 202, including substantial and burdensome ID

requirements for absentee by mail voting; limitations on early voting days and

hours, including Sunday early voting; diminished availability of absentee ballot

drop boxes except inside early voting locations during early voting hours, the lack

of 24/7 hour access to absentee ballot drop boxes which renders them essentially

useless to many voters; the criminalization of “line-warming,” activities, i.e.,

providing water and snacks to people in line to vote and other persons in the

vicinity of polling locations; and other unreasonably burdensome restrictions

imposed by these new voting changes on voters and election officials alike.

       34.   SB 202 will substantially and negatively impact the GCPA’s

advocacy efforts now and in the future. This law will inevitably cause Black voters

and other voters of color negatively impacted by these new restrictions to lose faith

that their votes will be counted on an equal basis as white voters. This sense of

futility will likely depress turnout in the future and make it more difficult for the

GCPA to carry out its mission of encouraging Black voters, other voters of color

and voters in underserved communities to register to vote, vote, and to help protect

the rights of other Georgians to vote.


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       35.   Due to the substantial changes in existing Georgia election law and

procedures, including the potential imposition of new criminal penalties and

significant fines and frees, SB 202 has caused, and will continue to cause, the

GCPA to divert a portion of its financial and other organizational resources to

educating voters about these changes and assisting voters facing these new

restrictions and burdens.

       36.   As a result of the enactment of these new restrictions on voting in

Georgia, the GCPA has, and will continue to have, fewer resources to dedicate to

its other organizational activities, including voter registration drives, GOTV efforts

and other projects, unless the Court enjoins enforcement of these new laws.

       37.   Plaintiff LEAGUE OF WOMEN VOTERS OF GEORGIA, INC.

(League) is a nonpartisan political organization that has worked for the last 101

years to ensure that every person has the desire, the right, the knowledge and the

confidence to participate in our democracy. The League’s 13 local organizations

and nearly 700 members are dedicated to our mission of empowering voters and

defending democracy.

       38.   From the League's inception, members have worked for good

government by studying issues, advocating for reforms, and, through the League’s

Observer Corps, observing and reporting on the work of all levels of government.


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The League is committed to registering voters, regardless of their political

affiliation, and is particularly proud of its work, with community partners, in

registering new American citizens at citizenship ceremonies. The League is also

dedicated to voter education, both through candidate forums and the Vote411.org

voter guide. Many League members also assist with get out the vote efforts, poll

watching, and serving as vote review panelists.

       39.   As part of its mission, the League advocates for expansion of voting

opportunities, including through absentee by mail voting, early in-person voting

and election day voting. The League expends significant resources in furtherance

of its mission, including by organizing voter registration drives, educating the

public about the voting process, and assisting voters who have questions or need

help navigating the voting process. The League has seen a substantial increase in

the number of its members and other individuals who turned out to vote by mail

and during early in-person voting during the 2020 election cycle and January 5,

2021 Senate runoff elections.

       40.   As a result of the risk of disenfranchisement due to new ID

requirements for absentee by mail voting, the League must divert more resources

toward educating voters about these new requirements, including, but not limited

to, warning them of the risk of disenfranchisement if they fail to provide the


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required ID and other required information when applying or absentee ballots and

when returning the ballots; answering questions from members of the public about

these new voting restrictions; and explaining how they impact their right to

vote. The League will need to devote significant staff time and funds to update

standard training materials and informational booklets to reflect these sweeping

changes.

       41.   The League must divert these resources away from its regular

advocacy, voter registration, fundraising, and other activities, affecting its ability to

operate and function with respect to its normal activities.

       42.   Plaintiff GALEO LATINO COMMUNITY DEVELOPMENT FUND,

INC. (“GALEO LCDF”); is a non-partisan, nonprofit corporation. GALEO LCDF

is one of the oldest, largest, and most significant organizations promoting and

protecting the civil rights of Georgia's Latinx community. GALEO LCDF has

approximately 165 members across Georgia.

       43.   GALEO LCDF’s headquarters is located in Norcross, which is in

Gwinnett County, and a substantial amount of GALEO LCDF’s civic engagement,

voter registration and get out the vote work takes place in Gwinnett County and

other Metro Atlanta counties. This work includes organizing voter education, civic

engagement, voter empowerment and get out the vote events and conducting voter


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registration drives. After Gwinnett County became a covered jurisdiction for

Spanish under Section 203 in December 2016, GALEO LCDF has worked also

with the Gwinnett County Board of Registration and Elections (“BORE”) in an

effort to bring its procedures and election materials into compliance with the law’s

requirements.

       44.   During the 2020 election cycle, GALEO LCDF also worked to

address challenges facing Gwinnett County’s LEP Spanish speaking voters as a

result of the impact of the COVID-19 pandemic.

       45.   GALEO LCDF sent bilingual mailers to Latinx Gwinnett County

voters with information about the presidential primary as well as additional mailers

after the primary was postponed due to COVID-19.

       46.   GALEO LCDF also sent several rounds of bilingual mailers to all

Latinx Georgia voters for both the General Election and the January 5, 2021

runoffs. GALEO LCDF also ran paid advertisements on Spanish media (radio &

TV) to promote voting and educate voters about voting for both elections.

       47.   Due to the sweeping changes to many facets of voting that stand to

disenfranchise Latinx, language minority voters and voters of color, GALEO

LCDF will be forced to divert resources from his voter registration, existing voter

education programs, get out the vote (GOTV) activities and other programs to


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assist voters, particularly limited English proficient voters and new Americans, in

being able to navigate the many changes and challenges of SB 202 that will make

it more burdensome for them to vote by absentee ballot, during early voting and in

person on Election Day.

       48.   Plaintiff COMMON CAUSE is a nonprofit corporation organized and

existing under the laws of the District of Columbia. It is one of the nation’s leading

grassroots democracy-focused organizations and has over 1.2 million members

nationwide and chapters in 35 states, including 18,785 members and supporters in

Georgia. Since its founding in 1970, COMMON CAUSE has been dedicated to the

promotion and protection of the democratic process, including the right of all

citizens to vote in fair, open, and honest elections. COMMON CAUSE, at the

national level and in Georgia, conducts significant nonpartisan voter-protection,

advocacy, education, and outreach activities to endure that voters are registered

and have their ballots counted as cast.

       49.   In Georgia, COMMON CAUSE has increased its efforts in the areas

of election protection, voter education, and grassroots mobilization around voting

rights in the state. COMMON CAUSE works on election administration issues

with its coalition, much of which is represented by the other plaintiffs in the instant

lawsuit.


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       50.   COMMON CAUSE, alongside other partners in Georgia, created a

program to help recruit volunteers to monitor local board of elections meetings.

Common Cause also works with these partners in election protection efforts during

both midterm and presidential elections. Through its volunteer recruitment for poll

monitors, COMMON CAUSE in Georgia monitors an average of five polling

locations in 22 counties for a total of 110 polling places. COMMON CAUSE in

Georgia additionally engages in online petition drives, soliciting signatures from its

members and supporters urging government officials to take certain actions.

       51.   COMMON CAUSE in Georgia also works directly with voters who

cast provisional ballots to help ensure their ballots can be counted.

       52.   During the 2020 election cycle, COMMON CAUSE in Georgia

assisted some 6,000 voters who cast provisional ballots to cure those ballots so

they could be counted — most were cast because the voter appeared at the wrong

precinct. As a result of the enactment of SB 202, COMMON CAUSE will

continue to divert resources that it would apply to other organizational and

programmatic resources toward helping voter resolve provision ballot issues,

including provisional ballots cast due voters appearing at the wrong precinct, often

through no fault of their own.




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        53.     Plaintiff LOWER MUSKOGEE CREEK TRIBE is a state-recognized

tribe located in Grady County on the southwest border of Georgia. The tribal

government is located in the old tribal town of Tama, which is located in

Whigham, Georgia. The tribe has an enrollment of approximately 2,700 members,

most of whom live in rural southwest Georgia and northern Florida within a 150-

mile radius to Whigham. The tribe operates a civics education program for its

members to encourage them to participate in the political process. The tribe's

members are disproportionately poor and likely to be affected by SB202's cutback

on voting by mail and criminalization of providing food and water to voters in line

at the polls.

        54.     The United States Census Bureau’s 2019 5-Year American

Community Survey (ACS) estimates indicate that 41.6% of American Indians in

Georgia do not have a computer at home and that American Indians in Georgia are

155% less likely than white Georgians to not have a computer at home. This makes

it more likely that Georgia’s American Indian voters, including members of the

LOWER MUSKOGEE CREEK TRIBE, will face significantly higher burdens

complying with SB 202’s absentee ballot provisions than white voters because they

are less likely to have a computer, printer scanner or internet access at home.

These resources are needed to obtain and print an absentee ballot application from


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the websites of the Secretary of State or county registrar and to print necessary ID

documentation for the absentee ballot application and to include when returning a

voted absentee ballot to their county registrar’s office.

       55.    Defendant BRAD RAFFENSPERGER is the Secretary of State of the

State of Georgia. He is responsible for administering and implementing Georgia’s

election laws and regulations as well as coordinating Georgia’s compliance with

the National Voter Registration Act of 193 (52 U.S.C. § 20507, et seq). He is sued

in his official capacity.

       56.    Defendants REBECCA N. SULLIVAN, DAVID J. WORLEY,

MATTHEW MASHBURN, AND ANH LE are members of the State Election

Board and are named herein in their official capacities.

       57.    The duties of members of the State Election Board include:

promulgating rules and regulations to “obtain uniformity” in the practices and

proceedings of elections officials, “as well as the legality and purity in all . . .

elections”; formulating, adopting, an orderly conduct of primaries and elections”;

promulgating rules and regulations to “define uniform and nondiscriminatory

standards concerning what constitutes avote and what will be counted as a vote”;

and investigating frauds and irregularities in elections. See O.C.G.A. § 21-2-31.




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                            STATEMENT OF FACTS

                Summary of the Challenged Provisions of SB 202

       58.   SB 202 is a 98 page omnibus bill which constitutes a major overhaul

of Georgia’s Election Code and voting procedures. The bill as enacted includes a

new and complicated absentee ballot application and ballot return process and

mandates new ID requirements when voting by absentee ballot, as well as when

requesting an absentee ballot. SB 202/AP Section 25.

       59.   The new absentee ballot ID requirements mandate that voters include

a Georgia Driver’s license number or Georgia State ID number on their absentee

ballot application. If they have neither, voters are required to copy another form of

acceptable voter ID and attach the copies of ID documents along with other

identifying information to both their absentee ballot applications and inside the

absentee ballot envelope when returning the voted ballot – thereby opening up

absentee ballot applicants to potential fraud or identity theft. Because voters,

except those over the age of 65 or disabled, must make a new application for an

absentee ballot for each election in an election cycle, voters are now required to

provide this ID information multiple times each election cycle.

       60.   The bill also prohibits public employees and agencies from sending

unsolicited absentee ballot applications to voters, yet threatens private individuals



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and organizations who are not so prohibited, such as the Plaintiffs, with a

substantial risk of incurring hefty fines for every application they send to an

individual who has not yet registered to vote or who has already requested a ballot

or voted absentee. This will be the case under SB 202 even though many voters

reported not receiving their absentee ballots after making an initial request for one

in the 2020 election cycle and voters benefited from having assistance from

individuals and groups, like the Plaintiffs’ organizations, in helping them submit

additional requests so that they could receive their absentee ballots. SB 202/AP,

Section 25.

       61.    SB 202 also significantly limits the accessibility of absentee ballot

drop boxes to voters. While all counties would be required to have at least one, the

placement of drop boxes is limited to early voting locations and drop boxes are

available only to voters who can enter the early voting location during early voting

hours to deposit their ballot inside the box. Thus, drop boxes are essentially

useless to voters who can vote early in-person or who cannot access early voting

hours at all due to work or other commitments during early voting hours.

SB202/AP Section 26.

       62.    The bill also mandates an earlier deadline of 11 days before an

election to request an absentee ballot, leaving some voters who become ill or have


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to travel out of the area in the lurch if they cannot vote during early voting and are

unable to meet the earlier deadline to apply for a ballot.

       63.   SB 202 gives unlimited discretion to election boards to limit early

voting hours to 9 am to 5 pm weekdays and on weekends, and to two Saturdays

before the election.

       64.   This change in the law provides county registrars with unfettered

discretion to set the time period for early voting between 9 am and 5 pm during

weekdays and on weekends, despite the fact that these are the same hours many

individuals work, attend school or have other responsibilities that make it

impossible or significantly more burdensome for then to cast ballots during regular

workday hours. This change will have a disproportionate impact on Black voters

and voters of color who have low income and hourly wage jobs and will have

difficulty being able to take time off during their workday to vote between 9 am

and 5 pm.

       65.   Additionally, county boards of election are given unfettered discretion

with no guidelines in determining whether to eliminate all Sunday early voting

days. SB 202/AP, Section 28.

       66.   Georgia Secretary of State statistics demonstrate that Black voters and

other voters of color utilize Sunday early voting hours significantly more than


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White voters. Black voters and other voters take part in GOTV efforts focused on

Sunday early voting, including “Souls to the Polls” events hosted by Black

churches and other faith-based organizations that provide rides to the polls

following church services or as part of their church fellowship activities. As a

result, the elimination or reduction of Sunday early voting under SB 202

discriminates against Black voters and other voters of color who utilize Sunday

early voting hours at higher rates than white voters.

       67.   SB 202 also substantially changes the rules on whether voters may

cast ballots at the wrong polling location or precinct within the same county where

they are registered to vote. SB 202 /AP Section 34.

       68.   Under SB 202, voters who arrive to vote after 5 pm and sign an

affidavit under penalty of perjury that they cannot get to their home precinct before

the close of the polls will be able to cast a provisional ballot which will count with

respect to the same contests on the voter’s home precinct ballot. All other voters

who arrive at the incorrect precinct before 5 pm can cast a provisional ballot at the

incorrect precinct, but none of their votes will count. In order for their votes to

count, they will be required to vote at their home precinct, even if they cannot get

to their home precinct by the time polls close. The Board of Elections is tasked

with reviewing the sworn statements submitted by the voters who cast provisional


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out of precinct ballots after 5 pm, but it is unclear what the purpose of that review

would be.

       69.   SB 202 shortens the runoff period to four weeks following the

election that led to the runoff for stateside voters, significantly limiting access to

in- person early voting, which may only allow for a three-day early voting period if

a runoff occurs during Thanksgiving week. The ability to cast an absentee mail-in

voting during this reduced time period will also be challenging, if not impossible

for some voters. SB 202/AP Section 28.

       70.   The provisions of SB 202 imposing new burdens on voting by

absentee ballots and limiting access to early voting will likely result in longer lines

and delays at the polls on Election Day, particularly for Black voters and voters of

color in Georgia who are more often than white voters impacted by lines and

delays when voting on election day. See, e.g., Stephen Fowler, Why Do Nonwhite

Georgia Voters Have To Wait In Line For Hours? Too Few Polling Places,

Georgia Public Broadcasting, October 17, 2020, accessible at:

https://www.npr.org/2020/10/17/924527679/why-do-nonwhite-georgia-voters-

have-to-wait-in-line-for-hours-too-few-polling-pl

       71.   Compounding the burden on Black and Brown voters who experience

long lines and delays at the polls, SB 202 also criminalizes “line-warming,” the act


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of well-meaning individuals and organizations who hand out water or snacks,

umbrellas, or chairs to ease the burden on voters standing in line for protracted

periods to vote. SB 202/AP Section 33.

       72.   SB 202 also removes powers from the Secretary of State. The

Secretary of State will no longer serve as the Chair of the State Election Board and

would no longer have voting powers as a member of the State Election Board.

Another provision allows the State Election Board and members of the General

Assembly to take over county election offices. SB 202/AP Section 5.

       73.   Pursuant to SB 202, the county commission or members of the

General Assembly could take action to commence a performance review of

election supervisors that could lead to their suspension. Up to four election

supervisors could be suspended at one time. SB 202/AP Section 7.

             Racial and Ethnic Demographics of Voting in Georgia

       74.   The Secretary of State of Georgia maintains detailed records as to the

racial demographics of voting. As a result, the Georgia legislators and its elected

officials are well aware of the implications of making decisions as to voting on

racial and ethnic minorities.

       75.   In every presidential election since 2004, the share of registered voters

who are white has decreased in Georgia: from 68% in 2004, to 63% in 2008, to


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59% in 2012, to 56% in 2016, to 53% in 2020. During that same period, the

cumulative share of registered Black, Latinx and Asian American/Pacific Islander

(“AAPI”) voters and voters who are members of indigenous tribes has increased.

       76.   The percentage of the vote that the Republican Presidential candidate

has received in Georgia has decreased in every election since 2004 with the

exception of 2012.

       77.   The 2018 statewide election in Georgia demonstrated how fragile the

Republican party’s hold on the state was. While Republican candidates won the

races for Governor, Lieutenant Governor, Secretary of State, and Attorney

General, all of the winners received less than 52% of the vote and the Secretary of

State election went to a run-off.

       78.   In 2020, a Democratic candidate won the presidential election for the

first time in Georgia since 1992, and two senatorial races were sent to run-offs,

with both Democratic candidates winning in January 2021. This was the first time

a Democrat had won a United States Senate race in Georgia since 1996.

       79.   Between 2016 and 2020, the share of registered voters who are white

decreased from 56% to 53% and the percentage of voters who turned out who were

white decreased from 61% to 58%. These percentages stayed the same for the




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January 2021 run-off elections. These 3 percentage point drops were

determinative in who won the 2020 and 2021 elections.

       80.   Election analysis demonstrates that Black voters and voters of color

usually provide strong support to Democratic candidates. Members of the

Georgia General Assembly are aware of this fact.

       81.   As seen in the following graphs, even before the pandemic, Black,

Latinx, AAPI and American Indian Alaska Native voters (referred to as “AIAN”)

in Georgia had made increasing use of voting by mail and early voting. This trend

increased significantly during the 2020 and 2021 elections because of the

pandemic.




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       82.   Between 2016 and 2018 general elections in Georgia, the percentage

of Black, Latinx, AAPI and indigenous tribe voters choosing to vote by mail

increased, while the percentage of White voters choosing to vote by mail or to vote

decreased somewhat. White, Black, Latinx, AAPI, and indigenous voters all chose

to vote by mail at larger percentages during the 2020 and 2021 elections because of

the pandemic, with a greater percentage of Black and Asian voters choosing to

vote by mail than White voters.




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       83.   Persons of color in Georgia, and particularly Black voters, have

chosen to take advantage of early voting opportunities even before the pandemic,

at rates comparable to, and often higher than White voters. This is particularly so

as to in-person early voting on Sunday where, because of “Souls to the Polls”

programs, Black voters, who in the 2020 general election comprised approximately

30% of all registered voters in Georgia, but accounted for 36.5% of Sunday voters,

compared to 26.8% of early in-person voters on other days. In comparison, 60%

of voters who voted early on days other than Sunday were white; but whites

comprised only 47% of in-person early voters on Sundays, despite comprising 53%

of Georgia’s registered voters.

       84.   Black residents of Georgia are 88% more likely than white Georgia

residents to be below poverty level, and, upon information and belief, as a result

are less likely to possess the IDs required by SB 202, and more likely to encounter

technology access issues that would render the printing and copying requirements

of SB 202 more burdensome on them.

       85.   Latinx residents of Georgia are 91% more likely than white Georgia

residents to be below the poverty level, and, upon information and belief, as a

result are less likely to possess the IDs required by SB 202, and more likely to




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encounter technology access issues that would make the printing and copying

requirements of SB 202 more burdensome.

       86.   Black Georgians are 58% more likely than white Georgians to lack

computer access in their homes.

       87.   Latinx Georgians are 74% more likely than white Georgians to lack

computer access in their homes.

       88.   Native Hawaiian Pacific Islanders are 100% more likely to lack home

computer access than are white Georgians.

       89.   Upon information and belief, Black and Latinx voters and other

persons of color in Georgia are more likely than white voters in Georgia to hold

jobs that do not give them the flexibility to take off from work during the time that

early voting and drop boxes are available under the new restrictions of SB 202.

       90.   Since 2013, Georgia has experienced polling place closures,

consolidations, and changing of locations of polling places, often in communities

of persons of color.

       91.   Persons of color are more likely than White voters to confront long

lines to vote in Georgia when they vote in person.




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                           Legislative History of SB 202

       92.   SB 202 was part of a wave of proposed legislation introduced in

2021, in a number of jurisdictions, grounded in baseless and often racially tinged

claims of voter fraud and election irregularities. Eleven such bills were proposed in

Georgia itself.

       93.   The procedure leading up to the passage of SB 202 was rushed and

irregular. Bills covering the same subjects, but with slightly conflicting provisions

were introduced in both houses of the Georgia legislature, sometimes in the same

house. Committee hearings were scheduled on the bills, but without posted

agendas, and without ample notice to the public or opportunity for the public to

view the proceedings without attending them in person.

       94.   Throughout the hearings held on these bills, the legislators were

repeatedly warned by community members and organizations that these bills,

including SB 202 and predecessor bills with similar provisions, would adversely

and disproportionately impact populations of persons of color.

       95.   For example, at a February 19, 2021 hearing on a related bill that

contained many of the same provisions that ultimately were incorporated in SB

202, representatives of the Georgia Coalition for the People’s Agenda noted that




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“prohibiting of early voting on Sundays, and therefore the elimination of the Souls

to Polls, feels like a direct attack on certain communities.”

       96.    At this same hearing, representatives from the Southern Poverty Law

Center Action Fund warned legislators that these bills represented calculated

attempts to adversely impact minority groups, and that the provisions such as the

photo ID requirement for absentee ballots would disproportionately impact racial

minorities.

       97.    There was a brief hearing on SB 202 during the first week of March

before the Senate Ethics Committee. At this time, SB 202 was a scant two-pages

long, and limited to the issue of distribution of absentee ballot applications. At that

hearing, representatives of community groups alerted the Committee to the

potential negative impact of the civil penalties for distributing absentee ballot

applications to certain voters would have on such community groups.

       98.    On March 17, 2021, at a hearing of the House Special Committee on

Election Integrity, SB 202 was discussed, despite no agenda for the hearing being

provided to the public until two hours before the hearing.

       99.    At this March 17, 2021 hearing, community organizations and civil

rights organizations, including from the Georgia Coalition for the People’s

Agenda, expressed multiple concerns to lawmakers about SB 202, including the


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lack of transparency and irregular process, as well as concerns about the bill taking

local authority away from county election officials.

       100. On March 18, 2021 – the very next day – SB 202 was amended again,

with a new substitute replacing it. Chairman Barry Fleming conducted a hearing of

the House Special Committee on Election Integrity, despite not having a substitute

ready to distribute, and instead described the changes to the bill without releasing

new language to the public. Despite the fact that there were changes from the prior

day, Chairman Fleming also prohibited comment from organizations that had

provided comments on March 17, 2021.

       101. On March 19, 2021, two further substitutions to the bill were made

and released to the public.

       102. On March 22, 2021, an hour before a scheduled hearing of the House

Special Committee on Election Integrity on March 22, 2021, House leadership

shared the new over 90-page version of SB 202 with Democratic members of the

Committee. Chairman Fleming refused to take additional comment on the bill,

despite the substantial changes and the two additional March 19 substitutions.

       103. When SB 202 was first passed over from the Senate to the House on

March 9, 2021, it was a 2-page bill that dealt only with restrictions concerning

individuals and third-party groups sending absentee ballot applications to


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prospective voters. In a matter of two weeks, the bill had grown to over 90 pages

dealing with numerous topics.

       104. During the debate on the House and Senate floor on SB 202, Black

legislators alerted their colleagues to the discriminatory impact SB 202 would have

on Black voters and other voters of color.

       105. The bill was put up for a full vote two days later on March 25, 2021.

       106. Despite the requirements of Georgia law that bills having either a

significant impact on expenditures of a state agency or at least $5 million cost to

local agencies must have a fiscal note attached, SB 202 contains no fiscal note.

The failure to attach a fiscal note to the bill was raised on the Senate floor, but was

summarily rejected by the President of the Senate.

       107. Throughout the debate on SB 202, its supporters attempted to justify

the bill using language similar to that used by former President Trump and his

allies concerning non-existent election irregularities in the 2020 Georgia

Presidential vote. Representative Barry Fleming, Chair of the House Special

Committee on Election Integrity, publicly likened absentee ballots to the “shady

part of town down near the docks” where the “chance of being shanghaied” is

significant.




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                              CLAIMS FOR RELIEF

                                       COUNT I

                  52 U.S.C. § 10301 and 42 U.S.C. § 1983
               (Discriminatory Purpose in Violation of the
Fourteenth and Fifteenth Amendments to the United States Constitution and
        Section 2 of the Voting Rights Act, Against all Defendants)

       108. Plaintiffs repeat and re-allege each and every allegation contained in

Paragraphs 1 to 107 above, as if fully set forth herein.

       109. 42 U.S.C. § 1983 authorizes suits for the deprivation of a right

secured by the Constitution or the laws of the United States caused by a person

acting under the color of state law.

       110. Section 1 of the Fourteenth Amendment to the United States

Constitution provides that:

      No state shall make or enforce any law which shall abridge the
      privileges or immunities of citizens of the United States; nor shall any
      state deprive any person of life, liberty, or property, without due
      process of law; nor deny to any person within its jurisdiction the equal
      protection of the laws.

       111. Section 1 of the Fifteenth Amendment to the United States

Constitution provides that:

      The right of citizens of the United States to vote shall not be denied
      or abridged by the United States or by any State on account of race,
      color, or previous condition of servitude.



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       112. Both the Fourteenth and Fifteenth Amendment prohibit intentional

racial discrimination by state actors.

       113. Section 2 of the Voting Rights Act of 1965, 42 U.S.C. § 1973, in

relevant part, provides:

      (a)    No voting qualification or prerequisite to voting or standard, practice,

             or procedure shall be imposed or applied by any State or political

             subdivision in a manner which results in a denial or abridgment of the

             right of any citizen of the United State to vote on account of race or

             color, or [membership in a language minority group].

      (b)    A violation of subsection (a) of this section is established if, based on

             the totality of circumstances, it is shown that the political processes

             leading to nomination or election in the State or political subdivision

             are not equally open to participation by members of a class of citizens

             protected by subsection (a) of this section in that its members have

             less opportunity than other members of the electorate to participate in

             the political process and to elect representatives of their choice.

       114. A violation of Section 2 of the Voting Rights Act may be based either

on a finding of a discriminatory purpose behind the challenged governmental




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action or a finding of a discriminatory result from the challenged governmental

action

         115. Discriminatory intent may be established by proof that the defendants

used race as a motivating factor in their decisions. Village of Arlington Heights v.

Metropolitan Hous. Dev. Corp., 429 U.S. 252, 265 (1977).

         116. The burdens of SB 202 are intended to, and will have, the effect of

disproportionately and adversely affecting the right to vote of Black voters and

other voters of color, including, but not limited to,

         1)   Imposing onerous and unnecessary ID requirements on voters who

              submit applications for absentee ballots and when they return voted

              absentee ballots;

         2)   Prohibiting public employees and public entities from sending out

              unsolicited absentee ballot applications to voters;

         3)   Threatening private individuals and non-public entities with

              potentially large fines for sending absentee ballot applications to

              voters who are not currently registered to vote or who have already

              requested a ballot, received a ballot or voted a ballot;

         4)   Giving county registrars unfettered discretion to limit early voting

              hours to 9 am to 5 pm and to entirely eliminate Sunday early voting


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     which will weigh more heavily on Black voters and other voters of

     color who must work 9-5 pm jobs and participate in “GOTV events,

     such as, “Souls to the Poll” events organized to increase Black voter

     turnout.

5)   Limiting access to absentee ballot drop boxes to locations inside early

     voting sites when advance in person voting is taking place, rending

     the drop boxes virtually useless since voters can vote early in person

     at these locations;

6)   Prohibiting out of precinct voting before 5 pm without recognizing the

     confusion and negative impact experienced by Black voters and other

     voters of color from hundreds of polling place changes in Georgia

     since the Supreme Court’s decision in Shelby County v. Holder;

7)   Criminalizing “line-warming,” which provides relief for voters forced

     to wait in long lines because of the other discriminatory voting

     changes imposed by SB 202;

8)   Removing the voting power of the Secretary of State on the State

     Elections Board, coupled with granting power to the State Election

     Board to take over county election boards and targeting jurisdictions

     with large populations of Black voters and other voters of color;


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      9)     Encouraging the submission of large numbers of voter challenges by

             using the term, “unlimited,” in referring to elector challenges in

             SB 202.

       117. Race was a motivating factor behind the enactment of SB 202.

       118. SB 202 was enacted at a time when Black voters and other voters of

color were making increasing use of means of voting that are being limited and

restricted in SB 2020.

       119. SB 202 was enacted immediately following elections in which the size

of the population of Black voters and other voters of color, particularly when

compared to the diminishing share of the white vote, had become larger in

statewide elections.

       120. In passing SB 202, the Georgia legislature deviated from procedural

norms in its rushing the bill to passage, in its failure to provide adequate notice and

opportunity to be heard and to view committee proceedings; in its speedy

replacement of a 2-page bill with a 95-page bill without sufficient notice; and in its

failure to include the required fiscal statement.

       121. The purported justification for SB 202 was pretextual.

       122. The Chair of the House Committee on Public Integrity made

culturally-insensitive statements in connection with the passage of SB 202.


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       123. The supporters of SB 202 were on notice of the foreseeability of the

disparate impact of SB 202.

       124. There are less discriminatory alternatives to every aspect of SB 202,

including simply maintaining the status quo, particularly given the complete lack

of evidence of significant voter fraud.

       125. Defendants will be unable to prove that, SB 202 would have been

enacted without race as a motivating factor.

       126. SB 202 was enacted with a racially discriminatory purpose in

violation of Section 2 of the Voting Rights Act, and the Fourteenth and Fifteenth

Amendments.

       127. Implementation of SB 202 will irreparably harm Plaintiffs as well as

Black voters and other voters of color by denying or abridging their right to vote.

       128. WHEREFORE, Plaintiffs pray for relief as set forth hereafter.

                                     COUNT II

             (Violation of Section 2 of the Voting Rights Act of 1965
                                52 U.S.C. § 10301)

       129. Plaintiffs repeat and re-allege each and every allegation contained in

Paragraphs 1 to 128 above, as if fully set forth herein.

       130. In determining whether a challenged voting practice violates the

results prong of Section 2 of the Voting Rights Act, a court undertakes a two-step

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analysis. First, it must determine whether a provision produced a disproportionate

impact on account of race.

       131. If there is a disproportionate impact, a court must examine the

“totality of the circumstances” and determine whether “the political processes …

are [] equally open to participation by [members of a protected class] … in that its

members have less opportunity than other members of the electorate to participate

in the political process.” See e.g., Johnson v. Governor of Fla., 405 F.3d 1214,

1228 n.26 (11th Cir. 2005); Burton v. City of Belle Glade, 178 F.3d 1175, 1197-98

(11th Cir. 1999).

       132. The provision of SB 202 that limits early voting, and specifically,

limits early voting on Sundays, will have a disproportionate impact on the ability

of Black voters in Georgia to participate equally in the political process because

Black voters have traditionally voted early on Sundays disproportionately to their

share of the Georgia registered voting population.

       133. The provision of SB 202 that prohibits “line-warming” will have a

disproportionate impact on the ability of Black voters and other voters of color in

Georgia to participate equally in the political process because they are more likely

than White voters to confront long lines and wait times when they vote in person.




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       134. The disproportionate impact of these provisions, individually and

collectively, is caused by present and past discrimination on account of race and

ethnicity by the state of Georgia, as shown by the totality of the circumstances,

including factors deemed relevant by the Supreme Court in Thornburg v. Gingles,

478 U.S. 30, 36 (1986).

       135. Georgia has a long history of official discrimination in the jurisdiction

that touched the right of minorities to register, vote, or otherwise participate in the

electoral process, and the history of voting discrimination against Black residents

in Georgia is well documented. Georgia‘s history of racial discrimination in voting

is so long and deep that courts have taken judicial notice of it. Johnson v. Miller,

864 F. Supp. 1354, 1379-80 (S.D. Ga. 1994), aff’d and remanded, 515 U.S. 900

(1995); Wright v. Sumter Cty. Bd. of Elections & Registration, 301 F.Supp. 3d

1297, 1310 (M.D. Ga. 2018), aff’d, 979 F.3d 1282 (11th Cir. 2020).

       136. Voters of color in Georgia bear the effects of discrimination in

education, employment, and health that hinder their ability to participate

effectively in the political process.

       137. The policy behind the use of the voting practices in question is

tenuous and pretextual.




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       138. As a result of SB 202’s requirements and prohibitions described

above, individually and collectively, under the totality of the circumstances, the

political process in Georgia is not equally open to participation to Black voters and

other voters of color in that such citizens have less opportunity than other members

of the electorate to participate in the political process and to elect representatives of

their choice.

       139. The requirements and prohibitions of SB 202 described above

constitute qualifications or prerequisites to voting within the meaning of Section 2

of the Voting Rights Act, and result in the denial or abridgement of the right to

vote of U.S. citizens who are residents of Georgia on account of their race or color,

or membership in a language minority group, in violation of Section 2 of the

Voting Rights Act.

       140. Implementation of SB 202 will irreparably harm Black voters and

other voters of color.

      WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.




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                                     COUNT III

                               42 U.S.C. § 1983
                  (Burden On The Fundamental Right To Vote
                      First And Fourteenth Amendments)

       141. Plaintiffs repeat and re-allege each and every allegation contained in

Paragraphs 1 to 140 above, as if fully set forth herein.

       142. The First and Fourteenth Amendments of the United States

Constitution protect the right to vote as a fundamental right. The First

Amendment’s guarantees of freedom of speech and association protect the right to

vote and to participate in the political process.

       143. The right to vote is a fundamental constitutional right also protected

by both the due process and equal protection clauses of the Fourteenth

Amendment. See, e.g., Bush v. Gore, 531 U.S. 98, 104-05 (2000); Harper v. Va.

State Bd. of Elections, 383 U.S. 663, 670 (1966); Anderson v. Celebrezze, 460 U.S.

780, 786-87 (1983).

       144. “A court considering a challenge to a state election law must weigh

“the character and magnitude of the asserted injury to the rights protected by the

First and Fourteenth Amendments that the plaintiff seeks to vindicate” against “the

precise interests put forward by the State as justifications for the burden imposed

by its rule,” taking into consideration ‘the extent to which those interests make it



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necessary to burden the plaintiffs' rights.’” See Burdick v. Takushi, 504 U.S. 428,

434 (1992); Anderson v. Celebrezze, 460 U.S. 780, 789 (1983).

         145. Even when a law imposes only a slight burden on the right to vote,

relevant and legitimate interests of sufficient weight still must justify that burden.

Common Cause/Ga. v. Billups, 554 F.3d 1340, 1352 (11th Cir. 2009). The more a

challenged law burdens the right to vote, the closer the scrutiny courts will apply

when examining that law. Stein v. Ala. Sec. of State, 774 F.3d 689, 694 (11th Cir.

2014).

         146. SB 202’s provisions inflict substantial burdens on Georgia’s voters,

both through the individual restrictions and provisions and collectively through the

combined effect of all of the restrictions and barriers.

         147. SB 202’s provisions requiring ID information and photo identification

with absentee ballot applications and ballots imposes a substantial burden on all

voters. This burden is unnecessary and is not outweighed by any purported State

interest.

         148. SB 202’s restrictions on sending of absentee ballot applications, both

by the Secretary of State and third parties, imposes a substantial burden on voters

trying to apply for and vote absentee that is not outweighed by any purported state

interest.


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       149. SB 202’s significant limitations on early voting, in particular the

impact on Sunday early voting, impose a substantial burden on all voters; this

burden is unnecessary and is not outweighed by any purported State interest.

       150. SB 202’s restrictions on drop boxes will make it harder for Georgia

voters, particularly those who do not have the schedule flexibility or ability to take

time off of work, to vote also impose an unnecessary burden that is not outweighed

by any purported State interest.

       151. SB 202’s restrictions on out-of-precinct voting, by setting arbitrary

times for when out-of-precinct voting is permitted (though still restricted) and

otherwise restricting by arbitrary times, impose an unnecessary burden that is not

outweighed by any purported State interest.

       152. SB 202 also prohibits providing food and water to voters waiting in

line at the polls, i.e., “line-warming,” which serves no legitimate purpose other

than to create unnecessary burdens on those trying to vote in person.

       153. The burdens caused by these provisions, individually and collectively,

are serious and substantial, and in some cases cause voters to risk being completely

disenfranchised.

       154. No legitimate state interest justifies these significant restrictions and

burdens.


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          155. The purported goals of increasing confidence in elections or

encouraging uniformity are pretextual at best, and in fact would be harmed by

imposing the restrictions and requirements of SB 202.

          156. These restrictions could undermine, not restore, confidence in

Georgia’s elections, and would do so at the expense of imposing undue burdens on

voters.

          157. The requirements and prohibitions in SB 202, individually and

collectively, impose a substantial burden on the fundamental right to vote of

Georgia citizens, and are neither justified by, nor necessary to promote, interests

put forward by the State that were not already being adequately protected by pre-

existing criminal laws and election procedures.

          158. These provisions will irreparably harm Black voters and other voters

of color.

      WHEREFORE, Plaintiffs pray for relief as hereinafter set forth.



                                      COUNT IV

                                  42 U.S.C. § 1983
                        (Freedom of Speech and Association)
                         First And Fourteenth Amendments)

          159. Plaintiffs repeat and re-allege each and every allegation contained in

Paragraphs 1 to 158 above, as if fully set forth herein.

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        160. The First Amendment to the Constitution, as applied by the

Fourteenth Amendment, prohibits abridgement of freedom of speech.

        161. SB 202, restricts Plaintiffs and their members core political speech

and expressive conduct – namely encouraging voting through the distribution of

absentee ballots applications in an effort to engage the public and voters and

encourage them to vote.

        162. By penalizing innocent errors in the distribution of absentee ballot

applications, SB 202 will have a chilling effect on Plaintiffs’ and their members’

core political speech, without being narrowly tailored to meet a compelling state

interest.

        163. As a result of SB 202, Plaintiff organizations will not be able to carry

out a key aspect of their organizational mission.

        164. Because the restrictions in SB 202 and the potential penalties extend

to Plaintiff organizations’ members, their members’ right of association is also

jeopardized.

       WHEREFORE, Plaintiffs pray for relief as set forth herein.

                              PRAYER FOR RELIEF

       Plaintiffs respectfully request that this Court:




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        1.   Declare that the challenged provisions in SB 202 violates the

Fourteenth and Fifteenth Amendment to the United States Constitution and Section

2 of the Voting Rights Act’s prohibitions on discriminatory purpose;

        2.   Declare that the challenged provisions in SB 202 violate the results

prong of Section 2 of the Voting Rights Act;

        3.   Declare that the challenged provisions of SB 202 violate the First and

Fourteenth Amendments to the U.S. Constitution as undue burdens on the right to

vote;

        4.   Declare that the challenged provisions of SB 202 violate the First and

Fourteenth Amendments to the U.S. Constitution as undue burdens on the right to

free speech and freedom of association;

        5.   Enjoin Defendants, their agents, officers, employees, successors, and

all persons acting in concert with them from enforcing any of the challenged

provisions of SB 202;

        6.   Award Plaintiffs their costs, expenses, and reasonable attorneys’ fees,

pursuant to 42 U.S.C. § 1988, 52 U.S.C. § 10301 and other applicable laws; and

        7.   Order any other relief that this Court deems just and proper.




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Dated: March 28, 2021

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                                   be filed

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           CERTIFICATE OF COMPLIANCE AND OF SERVICE

Pursuant to L.R. 7.1(D), the undersigned hereby certifies that the foregoing

COMPLAINT FOR NJUNCTIVE AND DECLARATORY RELIEF has been

prepared in Times New Roman 14, a font and type selection approved by the Court

in L.R. 5.1(C), and that I provided notice and a copy of the foregoing using the

CM/ECF system which will automatically send e-mail notification of such filing to

all attorneys of record.


Respectfully submitted this 28th day of March, 2021.

                                      /s/ Bryan L. Sells
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